     Case 2:16-cr-00026-CJB-MBN Document 133 Filed 02/14/19 Page 1 of 1



MINUTE ENTRY
BARBIER, J.
FEBRUARY 14, 2019
JS-10: 1 hr. 3 min.

                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                                   CRIMINAL ACTION

VERSUS                                                     NUMBER: 16-26

JARVIS HARDY                                               SECTION: "J"

COURTROOM DEPUTY:                                          COURT REPORTER:
Gail Chauvin                                               Jodi Simcox


                  THURSDAY, FEBRUARY 14, 2019 AT 9:30 A.M.
                     JUDGE CARL J. BARBIER PRESIDING

                                MOTION HEARING

Case called at 9:47 a.m.
Defendant was present.
MOTION to Withdraw Plea of Guilty by Jarvis Hardy [130].
Witnesses: Jarvis Hardy, sworn and testified.
            Valerie Jusselin, sworn and testified.
            Samuel Scillitani, Jr., sworn and testified.
Government's Exhibit 1 offered; ORDERED admitted.
Defendant's Exhibits 1 and 2 offered; ORDERED admitted.
ORDERED that motion is DENIED.
Sentencing set for FEBRUARY 21, 2019 AT 9:30 A.M.
Defendant REMANDED.
Hearing ended at 10:50 a.m.

ATTORNEY: Elizabeth Privitera, AUSA, Theodore Carter, III, AUSA, David Haller,
          AUSA, for government
          Bruce Whittaker, for defendant
